Case 1:07-cv-00337-RT Document 32 Filed 07/15/08

David S. Perkins, ISB No. 4381
Carsten A. Peterson, ISB No. 6373
QUANE SMITH Lip

Sixteenth Floor, U.S. Bank Plaza
101 South Capitol Boulevard

P. 0. Box 519

Boise, Idaho 83701

Telephone: (208) 345-8600
Facsimile: (208) 345-8660

Attorneys for Federal Defender
Services of Idaho, Inc.

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

BRENDA BENTLEY,

Page 1 of 2

Plaintiff, Case No. CV-07-337-S-RT

Vs. STIPULATION FOR DISMISSAL
WITH PREJUDICE

FEDERAL DEFENDER SERVICES OF
IDAHO, INC., an Idaho corporation, and
FEDERAL DEFENDERS OF EASTERN
WASHINGTON AND IDAHO, a
Washington corporation,

Defendants.

 

 

COME NOW Plaintiff, by and through her counsel of record, Moffatt,

Thomas, Barrett, Rock & Fields, Chartered, Federal Defender Services of Idaho, Inc.

(“FDSI"}, by and through its counsel of record, Quane Smith LLP, and Federal

Defenders of Eastern Washington and Idaho (“FDEW!”"}, by and through its counsel of

STIPULATION FOR DISMISSAL WITH PREJUDICE - 1
Case 1:07-cv-00337-RT Document 32 Filed 07/15/08 Page 2 of 2

record, Brassey, Wetherell & Crawford, and stipulate that the above-entitled action
shall be dismissed with prejudice and without costs and attorney fees to any party.
of?
DATED this St day of July, 2008.

MOFFATT THOMAS BARRETT ROCK & FIELDS, CHTD.

By ON

 

C. Clayton Gill, Of the Firm

DATED this G day of July, 2008.

BRASSEY WETHERELL WFORD & GARRETT, LLP

 

By
Nick J.| Crawford, Of the Firm

DATED this (say of July, 2008.
QUANE SMITH LLP

By
David-S-Pérkins, Of the Firm

 

STIPULATION FOR DISMISSAL WITH PREJUDICE - 2
